          USCA Case #24-1188              Document #2072754             Filed: 09/03/2024   Page 1 of 3

                               United States Court of Appeals
                                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                                    ____________
         No. 24-1188                                                      September Term, 2024
                                                                                       EPA-89FR32532
                                                                     Filed On: September 3, 2024
         American Water Works Association and
         Association of Metropolitan Water Agencies,

                           Petitioners

                  v.

         Environmental Protection Agency and
         Michael S. Regan, in his official capacity as
         Administrator, United States Environmental
         Protection Agency,

                           Respondents

         ------------------------------

         Concerned Citizens of WMEL Water
         Authority Grassroots, et al.,
                           Intervenors
         ------------------------------

         Consolidated with 24-1191, 24-1192


                  BEFORE:           Wilkins, Rao, and Walker, Circuit Judges

                                                       ORDER


                  Upon consideration of the joint motion to establish briefing format and schedule,
         it is

               ORDERED that the following briefing format and schedule will apply in these
         consolidated cases:

                  Opening Brief for Petitioners in No. 24-1188                        October 7, 2024
                  (not to exceed 13,000 words)

                  Opening Brief for Petitioners in Nos. 24-1191 & 24-1192             October 7, 2024
                  (not to exceed 13,000 words)

(Page 1 of Total)
          USCA Case #24-1188        Document #2072754              Filed: 09/03/2024     Page 2 of 3



                          United States Court of Appeals
                                      FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                               ____________
         No. 24-1188                                                 September Term, 2024

                Respondents’ Brief                                             December 23, 2024
                (not to exceed 26,000 words)

                Brief of Respondent-Intervenors                                  January 17, 2025
                (not to exceed 9,100 words)

                Reply Brief for Petitioners in No. 24-1188                      February 25, 2025
                (not to exceed 6,500 words)

                Reply Brief for Petitioners in Nos. 24-1191 & 24-1192           February 25, 2025
                (not to exceed 6,500 words)

                Deferred Appendix                                                  March 11, 2025

                Final Briefs                                                       March 25, 2025

              The parties will be informed later of the date of oral argument and the
         composition of the merits panel.

                The parties are advised that the court “looks with extreme disfavor on the filing of
         duplicative briefs in consolidated cases,” see D.C. Circuit Handbook of Practice and
         Internal Procedures 38 (2021), and the parties are encouraged to collaborate to avoid
         duplication of arguments in their briefs.

                The court reminds the parties that

                In cases involving direct review in this court of administrative actions, the
                brief of the appellant or petitioner must set forth the basis for the claim of
                standing. . . . When the appellant=s or petitioner=s standing is not
                apparent from the administrative record, the brief must include arguments
                and evidence establishing the claim of standing.

         See D.C. Cir. Rule 28(a)(7).

                Petitioners should raise all issues and arguments in the opening brief. The court
         ordinarily will not consider issues and arguments raised for the first time in the reply
         brief.

               To enhance the clarity of their briefs, the parties are urged to limit the use of
         abbreviations, including acronyms. While acronyms may be used for entities and


                                                    Page 2
(Page 2 of Total)
          USCA Case #24-1188        Document #2072754             Filed: 09/03/2024       Page 3 of 3



                          United States Court of Appeals
                                     FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                              ____________
         No. 24-1188                                                September Term, 2024

         statutes with widely recognized initials, briefs should not contain acronyms that are not
         widely known. See D.C. Circuit Handbook of Practice and Internal Procedures 43
         (2021); Notice Regarding Use of Acronyms (D.C. Cir. Jan. 26, 2010).

                 Parties are strongly encouraged to hand deliver the paper copies of their briefs to
         the Clerk's office on the date due. Filing by mail may delay the processing of the brief.
         Additionally, counsel are reminded that if filing by mail, they must use a class of mail
         that is at least as expeditious as first-class mail. See Fed. R. App. P. 25(a). All briefs
         and appendices must contain the date that the case is scheduled for oral argument at
         the top of the cover. See D.C. Cir. Rule 28(a)(8).

                                                Per Curiam


                                                                  FOR THE COURT:
                                                                  Mark J. Langer, Clerk

                                                          BY:     /s/
                                                                  Selena R. Gancasz
                                                                  Deputy Clerk




                                                   Page 3
(Page 3 of Total)
